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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 COUNTY OF HARRIS, TEXAS,

                  Plaintiff,
                                                               Case No. 4:19-cv-04994
                  v.

 ELI LILLY AND COMPANY, et al.,

                   Defendants.


             AMENDED JOINT DISCOVERY/CASE MANAGEMENT PLAN

       Pursuant to the Court’s Order, dated November 4, 2021 (Dkt. 168), the parties hereby

submit the following proposed amendment to the original Joint Discovery/Case Management Plan

(Dkt. 94) entered April 23, 2021 in this case.

1.     The following cases related to this one are pending in state or federal court.

       Seven other cases involve certain parties of common issues. In each, the plaintiffs generally

allege that the Insulin Manufacturer defendants (Novo Nordisk Inc., Sanofi-Aventis U.S., and Eli

Lilly and Company), and certain party or non-party PBMs (entities associated with Express Scripts,

Optum Rx, and CVS Caremark), engaged in certain conduct to raise insulin prices:

              Case                         Plaintiff(s)                     Defendants
 In re: Direct Purchaser          Assignee of a Drug               Insulin Manufacturers and
 Insulin Litigation, 3:20-cv-     Wholesaler and a Drug            PBMs
 3426-ZNQ-LHG (D.N.J.)            Wholesaler
 The State of Mississippi, ex     State of Mississippi             Insulin Manufacturers and
 rel. Lynn Fitch, Attorney                                         PBMs
 General v. Eli Lilly and
 Company, et al., 3:21-cv-
 00674-KHJ-MTP (S.D.
 Miss.)




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              Case                         Plaintiff(s)                     Defendants
 City of Miami, Florida v. Eli    City of Miami                    Insulin Manufacturers and
 Lilly and Company, et al.,                                        PBMs
 1:21-cv-22636-RNS (S.D.
 Fla.)
 In re: Insulin Pricing           Consumer Plaintiffs              Insulin Manufacturers
 Litigation, 2:17-cv-00699-
 BRM-ESK (D.N.J.)
 MSP Recovery Claims,             Assignees of Third-Party         Insulin Manufacturers
 Series, LLC, et al. v. Sanofi    Payors
 Aventis U.S., et al., 2:18-cv-
 02211-BRM-CLW (D.N.J.)
 Minnesota v. Sanofi-Aventis      State of Minnesota               Insulin Manufacturers
 U.S. LLC, et al., 2:18-cv-
 14999-BRM-AME (D.N.J.
 Commonwealth of Kentucky         State of Kentucky                Insulin Manufacturers
 v. Novo Nordisk, et al., No.
 19-CI-473 (Ky. Cir. Ct.)

2.     Discovery Plan

       a.      Timetable

       The parties agree that fact discovery should be completed by December 16, 2022, and that

expert discovery should be completed by March 27, 2023, as set forth in the Amended Rule 16

Scheduling Order submitted to the Court on November 19, 2021. The parties also have agreed that

all parties must substantially complete the production of documents in response to any pending

discovery requests by June 17, 2022. In addition, the parties agree that they will enter into a

mutually-agreeable deposition protocol, which will include, among other things, any provisions

regarding the coordination of this litigation with In re: Direct Purchaser Insulin Litigation, 3:20-

cv-3426-ZNQ-LHG (D.N.J.), The State of Mississippi, ex rel. Lynn Fitch, Attorney General v. Eli

Lilly and Company, et al., 3:21-cv-00674-KHJ-MTP (S.D. Miss.), and City of Miami, Florida v.

Eli Lilly and Company, et al., 1:21-cv-22636-RNS (S.D. Fla.) to which the parties are able to agree.

The parties note that it may be necessary to seek a further revision of the Scheduling Order in the

future in order to enable such coordination with the aforementioned matters.


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       b.     By when the plaintiff anticipates taking oral depositions.

       Plaintiff anticipates concluding oral depositions of fact witnesses by December 16, 2022.

       c.     By when the defendants anticipate taking oral depositions.

       Defendants anticipate concluding oral depositions of fact witnesses by December 16, 2022.

       d.     Specify the date experts for plaintiff (or party with the burden of proof on an
              issue) will be designated and their reports provided to opposing party.

       January 16, 2023.

       e.     Specify the date experts for defendants will be designated and their reports
              provided to opposing party.

       February 27, 2023.

       f.     List expert depositions the plaintiff (or party with the burden of proof on an
              issue) anticipates taking and their anticipated complete date. See Rule
              26(a)(2)(B) (expert report).

       Plaintiff anticipates deposing any experts named by the Defendants by March 27, 2023.

       g.     List expert depositions the defendant (or opposing party) anticipates taking
              and their anticipated complete date. See Rule 26(a)(2)(B) (expert report).

       Defendants anticipate deposing any experts named by the Plaintiffs by March 27, 2023.

3.     State the date the planned discovery can reasonably be completed.

       All fact discovery: December 16, 2022. All expert discovery: March 27, 2023.

4.     List the names, bar numbers, addresses, email addresses, and telephone numbers of
       all counsel.

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